 Case 2:19-cv-11755-CCC-MF Document 102 Filed 12/19/19 Page 1 of 2 PageID: 2494
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                                                                                                   December 19, 2019

  VIA ECF

  The Honorable Mark Falk, U.S.M.J.
  United States District Court
  United States Post Office & Courthouse
  1 Federal Square, Room 457
  Newark, New Jersey 07101

           Re:      Immunex Corp., et al. v. Samsung Bioepis Co., Ltd.
                    Civil Action No. 19-11755 (CCC)(MF)

  Dear Judge Falk:

          This firm, together with Fish & Richardson P.C., represents Defendant Samsung Bioepis
  Co., Ltd. (“Bioepis”) in the above-referenced matter. We write on behalf of Bioepis and
  Plaintiffs Immunex Corporation, Amgen Manufacturing Limited, and Hoffmann-La Roche, Inc.

          Pursuant to the Scheduling Order (D.I. 101), the parties are to submit a proposed
  Discovery Confidentiality Order (“DCO”) by today. The parties are conferring in good faith on
  the DCO and believe that additional time will increase the likelihood of reaching agreement
  without the need for court intervention. Accordingly, and in light of the intervening holidays, the
  parties respectfully request a three-week extension, until January 9, 2020, to submit a proposed
  DCO to the Court. This requested extension will not result in any other changes to the case
  schedule. If this meets with the Court’s approval, we respectfully request that Your Honor sign
  the below form of endorsement and have it entered on the docket.

          Thank you for Your Honor’s kind attention to this matter.

                                                                                                   Respectfully yours,


                                                                                                   William C. Baton

  cc:      All counsel (via e-mail)




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                                                      A DELAWARE LIMITED LIABILITY PARTNERSHIP
Case 2:19-cv-11755-CCC-MF Document 102 Filed 12/19/19 Page 2 of 2 PageID: 2495
 Hon. Mark Falk, U.S.M.J.
 December 19, 2019
 Page 2


 SO ORDERED:


 __________________________________
 Hon. Mark Falk, U.S.M.J.
